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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
 Email Address

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      Individual appearing without attorney
      Attorney for: Defendant Guy Griffithe

                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION                                        DIVISION

 In re:                                                                       CASE NO.: Case No. 8:19-bk-12480-TA
GUY GRIFFITHE,                                                                CHAPTER: 7
                                                                              ADV. PROC. NO.: 8:19-ap-01202-TA
        Debtor
_________________________________
                                                                                        APPLICATION FOR ORDER SETTING
GREGORY WICK, PLAINTIFF                                                                 HEARING ON SHORTENED NOTICE
VS.                                                                                              [LBR 9075-1(b)]
GUY GRIFFIHE, DEFENDANT

                                                              Debtor(s).



1. Movant applies under LBR 9075-1(b) for an order setting a hearing on shortened notice on the following motion:

    a. Title of motion: MOTION TO WITHDRAW AS COUNSEL OF RECORD FOR PLAINTIFFS

    b. Date of filing of motion:       2/13/2020

2. Compliance with LBR 9075-1(b)(2)(A): (The following three sections must be completed):

    a. Briefly specify the relief requested in the motion:
          ALLOWING COHEN TO WITHDRAW AS DEFENDANT GUY GRIFFITHE’S COUNSEL IN
          THIS ADVERSARY CASE Adv. 8:19-ap-01202-TA




            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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    b. Identify the parties affected by the relief requested in the motion:
         PLAINTIFF STEVEN BAGOT
         DEFENDANT GUY GRIFFITHE




    c.   State the reasons necessitating a hearing on shortened time:
         STATUS CONFERENCE 3-12-2020 AT 10:00AM
         DEFENDANT'S DEADLINE TO BRING THE (CANNABIS) MOTION IS 2-20-2020.
         PLAINTIFF'S DEADLINE TO OPPOSE THE (CANNABIS) MOTION IS 3-2-2020.
         DEFENDANT'S DEADLINE TO REPLY TO THE (CANNABIS) MOTION IS 3-8-2020.
         PLAINTIFF'S DEADLINE TO BRING AN ABSTENTION MOTION IS 2-20-2020.
         DEFENDANT'S DEADLINE TO OPPOSE THE ABSTENTION MOTION IS 3-2-2020.
         PLAINTIFF'S DEADLINE TO REPLY TO THE ABSTENTION MOTION IS 3-8-2020.




3. Compliance with LBR 9075-1(b)(2)(B): The attached declaration(s) justifies setting a hearing on shortened notice, and
   establishes a prima facie basis for the granting of the motion.


4. Movant has lodged a proposed Order Setting Hearing on Shortened Notice on mandatory form F 9075-1.1.ORDER
   .SHORT.NOTICE



Date: 2/13/2020                                                                  LAW OFFICE OF BARUCH C. COHEN, APLC
                                                                                 Printed name of law firm



                                                                                 /s/ Baruch C. Cohen
                                                                                 Signature of individual Movant or attorney for Movant

                                                                                 BARUCH C. COHEN
                                                                                 Printed name of individual Movant or attorney for Movant




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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 4929 Wilshire Boulevard, Suite 940, Los Angeles, California 90010.

A true and correct copy of the foregoing document entitled: APPLICATION FOR ORDER SETTING HEARING ON
SHORTENED NOTICE [LBR 9075-1(b)] will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 02/13/2020 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
 Thomas H Casey (TR) msilva@tomcaseylaw.com, thc@trustesolutions.net
 United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov



                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 02/13/2020 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
 Gregory Wick, 45159 Vine Cliff St, Temecula, CA 92592




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Honorable Theodor C. Albert, 411 West Fourth Street, Suite 5085, Santa Ana, CA 92701-4593



                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

02/13/2020        Baruch C. Cohen, Esq.                                                     /s/ Baruch C. Cohen
 Date                     Printed Name                                                        Signature




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